       Case 2:24-cv-00568-CB      Document 15-1       Filed 04/06/25   Page 1 of 2




Defendant Ondaway Service of Complaint and Summons in case 2:24-cv-0568 US Federal
Western District of Pennsylvaania NINGBO BONNY E-HOME CO., LTD. v. Ondaway et al

Yahoo/Sent


   •

Patricia ray

From:raypatricia@yahoo.com

To:1224597612@qq.com,lorien7832@163.com,zekes@qq.com

Cc:Raymond Chan

Bcc:Joanne Zheng

Wed, Apr 2 at 2:23 PM




Dear Defendant Ondaway



By Order No 14 of the Federal District Court of Western Pennsylvania you are hereby being
officially served by

NINGBO BONNY E-HOME CO., LTD. with a Summons and Amended Complaint in that
case. You are required to answer the Complaint or otherwise you will be in default. The
details an answer in this matter are contained in the Summons. You may also contact this
email for further information.



In addition, the Summons and Amended Complaint are being served to you by publication
on the website www.raychaniplaw.com.



Pease see the attached documents below



Sincerely
        Case 2:24-cv-00568-CB      Document 15-1   Filed 04/06/25   Page 2 of 2




Patricia Ray

Attorney for Ningo Bonny Ehome

Download all attachments as a zip file

           o

Amended Complaint.pdf

3.1MB



           o

filed summons may 19 (1).pdf

66.7kB
